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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:18-CR-00182-LJO
12                                 Plaintiff,               STIPULATION TO VACATE TRIAL
                                                            DATE, SET CHANGE OF PLEA
13   v.                                                     HEARINGS; FINDINGS AND ORDER
14   ELFEGO ALCALA,
     TAMILENE CISNEROS, and                                 JUDGE: Hon. Lawrence J. O’Neill
15   AIDA CORONA,
16                                 Defendants.
17

18                                               STIPULATION
19          The United States of America, by and through its counsel of record, and defendants, by and
20
     through their counsels of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for trial on January 22, 2020 at 8:30 a.m.
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            2.      By this stipulation, the parties now move to vacate the trial date and set the matter for
23

24 change of plea before the Court as to all defendants for January 6, 2020 at 8:30 a.m. and to exclude

25 time between the date of this stipulation and January 6, 2020 under 18 U.S.C. §§ 3161(h)(1)(D),
26 3161(h)(1)(G), 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).

27          3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      Defendants Alcala, Cisneros, and Corona have executed plea agreements with the
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     government, which have been filed with the Court.
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 3          b.      The next available date before the Court for a change of plea is January 6, 2020.

 4          c.      As the defendants do not intend on going to trial, the parties request that the trial date,
 5 and all other corresponding Court dates be vacated. Vacating the trial date and pretrial order

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     deadlines will conserve judicial resources as it will avoid the scheduling of a jury panel, the
 7
     consideration of pretrial filings, and the transportation of witnesses, among other trial preparations,
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     for a case that has been resolved by plea agreements.
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10          e.      By previous Court order, time was excluded under the Speedy Trial Act, 18 U.S.C.

11 § 3161, et seq., through and including January 22, 2020 for inter alia trial preparation. In an

12 abundance of caution, the parties also request that time be excluded under the Speedy Trial Act, 18

13 U.S.C. § 3161, et seq., from the date of this stipulation through and including January 6, 2020, to

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     allow defendants to continue to consult with counsel, and to prepare for and attend change of plea
15
     hearings.
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            f.      Counsel for defendants believe that failure to grant the above-requested
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18 continuance/time exclusion would deny them the reasonable time necessary for effective

19 preparation, taking into account the exercise of due diligence.
20          g.      The government does not object to, and agrees to, the continuance/time exclusion.
21
            h.      Based on the above-stated findings, the ends of justice served by continuing the case
22
     as requested outweigh the interest of the public and the defendant in a trial within the original date
23
     prescribed by the Speedy Trial Act.
24
            i.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
25
26 seq., within which trial must commence, the time period of the date of this stipulation to January 6,

27 2020, inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(1)(D), 3161(h)(1)(G),

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     3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv) because it results from a continuance granted by the
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     Court at defendants’ request on the basis of the Court's finding that the ends of justice served by
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 3 taking such action outweigh the best interest of the public and the defendant in a speedy trial.

 4          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 5 the Speedy Trial Act dictate that additional time periods are excludable from the period

 6
     within which a trial must commence.
 7
     IT IS SO STIPULATED.
 8
     DATED: December 20, 2019                               By: /s/Serita Rios
 9                                                          SERITA RIOS
                                                            Attorney for Defendant
10                                                          TAMILENE CISNEROS
11

12 DATED: December 20, 2019                                 By: /s/Nicholas F. Reyes
                                                            NICHOLAS F. REYES
13                                                          Attorney for Defendant
                                                            ELFEGO ALCALA
14
     DATED: December 20, 2019                               By: /s/Kevin Little
15                                                          KEVIN LITTLE
                                                            Attorney for Defendant
16                                                          AIDA CORONA
17

18 DATED: December 20, 2019
                                                            /s/ Laura D. Withers
19                                                          LAURA D. WITHERS
                                                            Assistant United States Attorney
20

21                                                 ORDER
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            IT IS SO FOUND. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
23

24 § 3161, et seq., within which trial must commence, the time period of the date of this stipulation to

25 January 6, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(1)(D),
26 3161(h)(1)(G), 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv) because it results from a continuance

27 granted by the Court at defendants’ request on the basis of the Court's finding that the ends of justice

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     served by taking such action outweigh the best interest of the public and the defendant in a speedy
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     trial. At the request of the parties, the January 22, 2020 trial date and all other corresponding Court
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 3 dates in the above case are VACATED.

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 5 IT IS SO ORDERED.

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        Dated:     December 20, 2019                        /s/ Lawrence J. O’Neill _____
 7                                                 UNITED STATES CHIEF DISTRICT JUDGE

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